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                                 U.S. BANKRUPTCY COURT
                                  District of South Carolina

Case Number: 17-01130-jw



                              Order Granting Motion to Reopen



The relief set forth on the following pages, for a total of 3 pages including this page, is
hereby ORDERED.




       FILED BY THE COURT
           10/15/2018




                                                   US Bankruptcy Judge
                                                   District of South Carolina



        Entered: 10/15/2018
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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF SOUTH CAROLINA

 IN RE:                                             CHAPTER 11

 Connie Lynette Hardwick                            CASE NO: 17-01130-JW

                               Debtor(s).           ORDER GRANTING MOTION TO REOPEN
                                                    CASE




      Before the Court is the motion of debtor(s), filed on September 18, 2018, to reopen this closed
case pursuant to 11 U.S.C. § 350(b).

      After careful consideration of the motion and no objections having been filed, the motion is
granted.

         IT IS, THEREFORE, ORDERED that:

         1. This case is reopened;

         2. The action proposed in the motion be initiated within fourteen (14) days of the entry of this
Order;

       3. Upon the completion of the proposed action or upon the failure of the movant to initiate timely
the proposed action, the clerk’s office shall close this case without further order;

       4. The appointment of a trustee by the United States trustee is not necessary to protect the
interests of creditors and the debtor(s) or to ensure the efficient administration of the case (See Federal
Rule of Bankruptcy Procedure 5010);

        5. If a meeting of creditors is necessary, the United States trustee's office will schedule and the
clerk's office will give notice thereof to each party in interest;

        6. The debtor(s) or the debtor’s(s’) attorney shall review and make any necessary updates to
the lists required under Federal Rule of Bankruptcy Procedure 1007(a) within five (5) days after the
entry of this Order.



         AND IT IS SO ORDERED.
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